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                                                                                                            July 31, 2022
Chief Magistrate Judge Joseph C. Spero
San Francisco Courthouse, Courtroom F – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

         RE:      Joint Letter Brief Seeking Discovery Relief in matter of LD et al. v. United Behavioral
                  Health Company et al.: Case No. 4:20-cv-02254-YGR-JCS

Chief Magistrate Judge Spero:

         Pursuant to your Civil Standing Orders, the parties are seeking the Court’s assistance in
resolution of the discovery dispute set forth below. Lead counsel for the parties met and conferred on
July 28 and July 29, 2022 in an effort to resolve these matters and have been unable to do so.
                                             Plaintiffs’ Statement
         Specific Issues as to United Defendants: In the final two weeks of the class discovery period,
and after the deposition of United’s sole Rule 30(b)(6) designee, United produced 10,504 documents
(over 209,000 distinct images) with 91 documents (9,621 images) produced on the discovery deadline,
a further 358 documents (21,676 images) produced after the discovery deadline, and 70 further
documents produced on July 29, 2022. Despite these late document dumps, United continues to refuse
Plaintiffs’ repeated requests to produce specifically identified documents, central to the matter, many
of which were requested beginning in July 2021.
         Plaintiffs’ First Set of Requests for Production to United (“First RFP”) requested itemized
reports of fees collected by United from all plan sponsors pursuant to the Shared Savings and
Reasonable and Customary programs (see, for example, Plaintiffs’ First RFP No. 4 and 17). United’s
own Rule 30(b)(6) designee testified that these reports show fees generated by United from these
programs, including the program at the heart of this dispute: the R&C Program. These reports,
including identification of plan sponsors by name, are essential to calculation of damages, and despite
being first requested by Plaintiffs in July 2021,1 these materials remain outstanding. Likewise,
Plaintiffs have repeatedly demanded copies of all invoices sent by United to Apple, Tesla, Oracle,
Union Pacific, JP Morgan, and Raytheon (see, e.g., Plaintiffs’ First RFP Nos. 79, 81). United has
produced some responsive documents over the past few weeks; however, no supplemental responses
were served along with the documents. United should be compelled to provide a complete response
and documents responsive to all of Plaintiffs’ requests. To that end, United has not produced complete,
certified administrative records despite having an independent duty to do so. Cf. Fowler v. Aetna Life
Ins. Co., 615 F. Supp. 2d 1130, 1136 (N.D. Cal. 2009). Plaintiffs have continually requested copies of
the full administrative records, including any explanations of benefits (“EOBs”), verification of
benefits (“VOB”) call recordings, and summary fee sheets prepared or maintained by United for the
sample class2. (see Plaintiffs’ Sixth RFP, May 4, 2022.)
         United has continued to produce thousands of pages of documents after the close of discovery,
which has prejudiced Plaintiffs by depriving them of the opportunity to use these materials during
depositions. Plaintiffs should be given an opportunity to review these untimely productions and to
recall those individuals who were previously deposed for additional examination. Further, these
productions are filled with self-serving language from cherry-picked plan documents provided without
1
  Subsequently, Plaintiffs have repeatedly renewed this request, including during the Rule 30(b)(6) deposition of United and
immediately afterward by email to counsel on July 14, 2022.
2
  United’s frequent references to ‘agreements’ limiting Plaintiffs’ requests are misleading and incorrect as shown by
Plaintiffs’ repeated objections in response to such steps taken by United in the attached correspondence.
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context3 and irrelevant information related to claims appeals and higher levels of care than the claims
at issue (i.e., the intensive outpatient program). This effort to bury Plaintiffs in self-serving, irrelevant
documentation, while neglecting to produce the requested materials, is nothing more than bad faith
discovery practice.
         Despite multiple attempts to meet and confer on these issues, the aforementioned materials
remain outstanding. Plaintiffs request the Court for an order compelling United to produce materials
fully responsive to Plaintiffs’ discovery requests, including ibaag4 screenshots for the 25 sample
patients at the time(s) of their claims, complete fee reports that identify by program and plan sponsor
the fees United took for those programs, supplemental responses that comply with the federal rules,
and certified, full, and complete administrative records of the 25 sample patients. Plaintiffs’ also
request that the court order United to permit an additional 30(b)(6) corporate deposition of United with
a witness that is fully prepared to answer and address the noticed deposition topics5.
         Specific Issues as to Multiplan: Multiplan has similarly engaged in unnecessary discovery delay
tactics. In the face of multiple requests from Plaintiffs, Multiplan previously refused to produce a
privilege log for documents withheld from its prior document productions, the first of which
productions occurred in April 2022, and has produced one after the document discovery period has
closed, on July 22, 2022, thereby rendering such log useless for its intended purpose. This dilatory
tactic is highly prejudicial to Plaintiffs, who are now unable to test any assertions of privilege through
discovery. Further, the privilege log appears haphazardly done. In one, glaring, example, MultiPlan’s
PRIV-00055, MultiPlan asserts attorney-client and work product privilege over a document prepared
by ‘AModiano,’ Plaintiffs’ counsel. As discussed below, Plaintiffs contend that Multiplan has waived
its right to assert any privilege for documents withheld from its prior productions. In particular, the
underlying data in the Standard Analytical File (“SAF”) that MultiPlan relies on to defend the Viant
OPR methodology for the claims at issue, should be ordered produced. This does not require the
production of the entire SAF file but does include the underlying data used to price the claims at issue
(e.g. hcpcs code H0015 / revenue code 906)6.
         This Court’s Standing Order requires that “[p]rivilege logs shall be promptly provided and
must be sufficiently detailed and informative to justify the privilege.” Standing Order, ¶ 15. Rule 34’s
30-day time limit for responding to document requests serves as a “default guideline” for service of a
privilege log that satisfies the requirements of Rule 26. See Sherman v. Regents of Univ. of California,
20-CV-06441-VKD, 2022 WL 875652, at *2 (N.D. Cal. Mar. 24, 2022). The cases cited by MultiPlan
in opposition are readily distinguishable and do not involve the production of a privilege log a year
after discovery was issued, and after document production had closed. Finally, Plaintiffs’ request the
Court to conduct an in camera review of documents clawed back by Multiplan during the deposition of

3
  To the extent that United argues that these plans were randomly selected for production, Plaintiffs have received only an
inadequate explanation from United regarding the selection methodology and materials produced.
4
  Ibaag is an internal computer screen readout that United representatives rely on when responding to verification of benefit
inquiries from health care providers. It provides United’s representatives with information regarding the rate at which out of
network benefits will be reimbursed under a given plan, which they then relay to providers. These 25 include the five
named Plaintiffs and are not 25 additional patients as incorrectly stated by Defendants.
5
  United’s sole 30(b)(6) designee was Rebecca Paradise. Plaintiffs also deposed Ms. Paradise in her individual capacity.
Plaintiffs also deposed three MultiPlan witnesses in both their individual capacities and as corporate designees for
MultiPlan. The statement that Plaintiffs had ‘nearly a week’ of 30(b)(6 ) depositions is inaccurate and misleading.
6
  This is far from the ‘500 million’ lines of data referred to by MultiPlan. MultiPlan’s 30(b)(6) witness Sean Crandell
testified as to the actual claim data being many orders of magnitude less, Plaintiffs would be happy to provide relevant
excerpts of the deposition under seal owing to the confidentiality designation of the deposition. Further, given MultiPlan’s
frequent and public assertions of the Viant methodology being ‘defensible’, seeking the limited, underlying data used to
price the claims at issue is relevant and reasonable.
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Mr. Sean Crandell on July 14, 2022. As was the case with United’s documents subject to in camera
review (see Dkt. No. 156), counsel for Plaintiffs already reviewed the documents in advance of
Multiplan’s claw back attempt and even intended to use several such documents as exhibits during the
deposition of Mr. Crandell. Accordingly, Plaintiffs disagree with Multiplan’s alleged basis for this
claw back and seek the Court’s intervention to resolve this dispute.
         Improper Objections: In their responses to Plaintiffs’ discovery requests, both the United
defendants and MultiPlan have responded with numerous, improper objection that should be overruled
and/or struck. For document requests, Plaintiffs are “entitled to individualized, complete responses to
each of the requests…accompanied by production of each of the documents responsive to the request”
Tuggle v. City of Tulare, 2021 WL 765273, at *5 (E.D. Cal. Feb. 26, 2021) (internal citations omitted).
Defendants have not done so (United’s responses attached as composite exhibit “A” and MultiPlan’s
responses attached as composite exhibit “B”). Defendants have also asserted flawed general objections
in all of their responses that should be struck. See, e.g., M2 Software, Inc. v. M2 Commc'ns, L.L.C., 217
F.R.D. 499, 501 (C.D. Cal. 2003) (collecting cases). Instead of objecting with specificity, Defendants
have provided a litany of boilerplate objections that are disfavored and regularly overruled. See, for
example, Dep't of Toxic Substances Control v. Rossi, 2022 WL 19355, at *2 (N.D. Cal. Jan. 3, 2022)
(collecting cases). Defendants’ objections to relevancy do not align with Rule 26. See, for example,
Shaw v. Experian Info. Sols., Inc., 306 F.R.D. 293, 296 (S.D. Cal. 2015). Likewise, objections of
undue burden “must provide sufficient detail regarding the time, money and procedures required to
produce the requested documents,” and it is not enough to argue that such production will be time
consuming or expensive if the material is necessary to the discovery of admissible evidence. Id. at 301.
Defendants’ objections of ‘equal availability’ should also be overruled as courts “have unambiguously
stated that this exact objection is insufficient to resist a discovery request.” Nat'l Acad. of Recording
Arts & Scis., Inc. v. On Point Events, LP, 256 F.R.D. 678, 682 (C.D. Cal. 2009) (collecting cases).
         Finally, any complaints Defendants may raise regarding the timeliness of Plaintiff’s request to
compel production of these outstanding discovery materials must be dismissed as L.R. 37-3 states:
‘“discovery cut-off’ is the date by which all responses to written discovery are due and by which all
depositions must be concluded.” (underlining added). The last deposition in this matter occurred on
July 28, 2022 and Defendants have requested that it be continued in the following week. Further, the
equities of the matter also warrant dismissal of such objections and constitute “good cause shown”
under the rule in light of Defendants’ own malfeasance in withholding such materials and producing
tens of thousands of pages of documents at and after the eleventh hour, as recently as July 29, 2022.
MultiPlan’s own privilege log was not timely produced and not received until July 22, 2002. The class,
fact discovery deadline was extended by stipulation until July 29, 2022 to allow for completion of
depositions. (Dkt. 143). As the attached correspondence from Plaintiffs to Defendants (composite
exhibit “C”), this is not a last minute attempt to reopen discovery; instead, Plaintiffs have repeatedly
raised these issues with Defendants and sought to resolve them, in good faith, without court
intervention and now ask the court to do so.

                                          Defendants’ Statements
        Plaintiffs’ Requests Are Untimely. All of Plaintiffs’ disputes should be rejected under this
Court’s scheduling orders and Local Rule 37-3, which expressly states that “no motions to compel fact
discovery may be filed more than 7 days after the fact discovery cut-off.” This Court’s April 21
scheduling order clearly set the fact discovery cut-off as July 15 (Dkt. 130), so the deadline to file
these disputes (at the very latest) was July 22. This Court also made clear in the April 21 scheduling
order that any further extensions would require “extraordinary and compelling reasons” (id.), yet
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Plaintiffs make no attempt to satisfy this high standard even though their letter is clearly an attempt to
re-open discovery—and thus a retroactive request for extension of the cut-off. Plaintiffs’ reference to
the few depositions conducted after the cut-off does not hold water: the parties’ June 28 joint
stipulation and the Court’s July 8 order did not alter the July 15 cut-off and only allowed a few
depositions to occur after the cut-off. (See Joint Stipulation and Order to Permit Pertain Depositions
Following Close of Discovery, Dkt. 143.) Nor did Plaintiffs raise any disputes with Defendants’
document productions at that point. Plaintiffs’ clear goal in belatedly raising these disputes is to re-
open discovery, and they provide no basis to do so—let alone extraordinary and compelling reasons as
required by this Court.
         Indeed, if Plaintiffs were truly concerned about any of these issues, they could have and should
have been raised months ago. Plaintiffs have been on notice—through detailed discovery letters and
countless phone calls—about what Defendants would be producing and when.7 And Defendants’
productions are more than sufficient to satisfy Plaintiffs’ requests. Accordingly, even if Plaintiffs had
raised these disputes before the discovery cut-off (or Local Rule 37-3’s seven-day deadline for motions
to compel), there would have been no basis—and raising them two weeks after the cut-off (after a
year’s worth of discovery) is improper and unfair.
         Facility R&C Fee Reports (United Defendants). From July to November 2021, Plaintiffs
served multiple rounds of broad, conflicting, and confusing document requests, including documents
regarding Facility R&C program fees. After multiple meet-and-confers, on December 20, 2021,
United Defendants sent Plaintiffs a letter detailing the sources, search terms, and categories of fee-
related documents that would be searched for and produced.8 United Defendants invested countless
hours completing these ESI productions (which also covered many other categories) over the course of
early 2022, completing them by July 1, so that Plaintiffs could ask about these documents at
depositions (which they did). Plaintiffs provide no explanation of why they believe they are entitled to
even more “fee” information beyond the many fee summaries, analyses, and other documents Plaintiffs
already received—and if they wanted a particular format or type of report they needed to make this
clear in 2021 (or at least early 2022) and not after the fact discovery cut-off. It was Plaintiffs’ choice
to insist on voluminous productions through broad requests and search terms, and it would be unfair to
allow them to pivot away from this approach after the productions have been completed.
         Customer-Specific Fee Reports (United Defendants). In early 2022, Plaintiffs issued
subpoenas to twenty-five customers of UHC (plan sponsors) seeking various categories of information,
including fees paid by these customers for Facility R&C, and later in 2022 served requests on United
Defendants for similar information. After multiple meet-and-confers among United Defendants,
Plaintiffs’ counsel, and the customers, UHC agreed to satisfy these requests by producing specific
categories of documents for a smaller sample of six customers hand-picked by Plaintiffs’ counsel. See
Ex. C. UHC did this just over a month later, producing customer-specific fee summaries and other
documents on July 1, prior to depositions. It is unclear why Plaintiffs now seek additional documents
covering the same topics—i.e., “invoices” (which would be duplicative and more burdensome than the
already-produced fee summaries) and fee reports for additional customers beyond the six previously
hand-picked by Plaintiffs. In any event, the time to raise these issues was back in May or June, not
now.
7
  See Exhibit A (December 20, 2021 letter from United Defendants memorializing search and production parameters for
Plaintiffs’ 2021 requests); Exhibit B (June 1, 2022 letter from United Defendants memorializing search and production
parameters for Plaintiffs’ 2022 requests); Exhibit C (May 27, 2022 letter from United Defendants memorializing additional
search and production parameters for Plaintiffs’ 2022 requests and subpoenas directed to particular customers).
8
  See Exhibit A (December 20, 2021 letter); see also Exhibit B (June 1, 2022 letter regarding Plaintiffs’ 2022 requests for
overlapping information).
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        Administrative Records (United Defendants). Administrative records for the five named
plaintiffs were substantially complete in October 2021, with a minor supplemental production on June
3, 2022. In May 2022, Plaintiffs requested administrative records for an additional twenty-five
putative class members (Plaintiffs’ sixth round of requests), and United Defendants completed these
productions just over a month later (most were produced on July 8). It is unclear what Plaintiffs are
asking the Court to compel, and any required “certifications” (which Plaintiffs just raised last week)
can be worked out among the parties.
        IBAAG (United Defendants). United Defendants produced multiple IBAAG documents in
their ESI productions, as agreed in the December 20, 2021 letter setting out these parameters, and
Plaintiffs were able to ask about these documents at depositions. Additionally, although IBAAG was
not part of the agreed-upon categories for Plaintiffs’ hand-picked sample of six customers in May 2022
(see Ex. C), United Defendants produced IBAAG for the sample on July 1 (Apple and Tesla) and July
15 (four remaining customers). Plaintiffs fail to explain why they need more IBAAG than what was
already produced, or why they did not make this request before now.
        Supplemental 30(b)(6) Depositions. Plaintiffs spent two days (July 13-14) with UHC’s Rule
30(b)(6) witness, another day (July 20) with UBH’s 30(b)(6) witness, and had multiple days of
MultiPlan 30(b)(6) depositions—so all told they have taken almost a week’s worth of 30(b)(6)
depositions. They have also deposed multiple witnesses from each company in their individual
capacities. Each of the witnesses was fully prepared, and Plaintiffs’ counsel had more than enough
time to explore all noticed topics. Plaintiffs refer vaguely to “document dumps” as a purported basis
for more deposition time, but this is highly misleading: (1) by design (and with complete transparency
to Plaintiffs) the July productions primarily involved sample administrative records, plan documents,
and other categories not needed for depositions, and (2) Plaintiffs fail to explain what additional
deposition testimony they need—or why they did not request it earlier.
        MultiPlan Privilege Log. There was no “dilatory tactic” employed on MultiPlan’s privilege
log, which was produced shortly after the ESI productions to which it related, consistent with the
governing case law.9 Nor was the privilege log “haphazardly done.” The example to which Plaintiffs
point, a reference to “AModiano,” is the single instance of such a listing, and it results from the
attachment of a pleading in a related case in which such Plaintiffs’ counsel was also involved.
Forwarding that pleading in a privileged communication cloaks that particular copy in privilege. With
respect to the three documents clawed back at the July 14 Crandall deposition, MultiPlan fully
complied with the rules by serving formal notice and including these documents on the privilege log.
Plaintiffs provide no basis for in camera review of these documents. MultiPlan will review the Court’s
forthcoming order regarding the United Defendants’ documents and make any necessary adjustments
to the MultiPlan log.

9
 Courts in this circuit have frequently held that production of privilege logs outside the 30-day “default” period do not
result in waiver, particularly in complex cases such as this. See, e.g., Khasin v. Hershey Co., 2014 WL 690278, at *6 (N.D.
Cal. Feb. 21, 2014) (finding no waiver where privilege log was produced seven months after initial document production
and mitigating factors were present); Jumping Turtle Bar & Grill v. City of San Marcos, 2010 WL 4687805, at *3 (S.D.
Cal. Nov. 10, 2010) (no waiver where the log was produced one-and-one half months late and included “a brief description
of the documents, the author, the date of the document, at least one recipient, and the privilege(s) claimed for each
document”); Lofton v. Verizon Wireless (VAW) LLC, 308 F.R.D. 276, 282 (N.D. Cal. 2015) (“District courts applying
Burlington Northern often decline to find waiver of privilege where a party first raises insufficient boilerplate privilege
objections in its RFP responses then raises the objections in an untimely yet detailed privilege log.”). Plaintiffs’ cases
(Burlington Northern and Sherman) are not to the contrary, and merely discuss the “default rule” of thirty days while also
acknowledging the many circumstances that can support more time, including magnitude of the production—a
circumstance that plainly applies here.
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        SAF Files (MultiPlan). Plaintiffs request production of “the underlying data in the Standard
Analytical File (‘SAF’) that MultiPlan relies on to defend the Viant OPR methodology.” As MultiPlan
repeatedly has pointed out, the SAF is publicly available from the federal government, specifically
CMS. The SAF consists of 500 million records. Requiring its production is disproportionate, in that
to gather, format, and produce the data as it exists today, let alone how it appeared when the claims at
issue were repriced by Viant, would take weeks, involve the diversion of a number of MultiPlan
employees from their regular job responsibilities, and would be prohibitively expensive. Moreover, it
is not clear that MultiPlan is contractually authorized to share the information sought. And even if
these hurdles could be overcome, it is unlikely that the purpose for which Plaintiffs are seeking the
data—to attempt to replicate Viant repricing—is even possible given the proprietary processes that
such repricing involves. Finally, Plaintiffs’ suggestion that they do not require production of the
“entire SAF file” is not consistent with the position they took during the recent deposition of a
MultiPlan employee when this issue was resurrected.
        Discovery Objections (all Defendants). Plaintiffs’ several hundred document requests, which
they served from July 2021 to May 2022, were objectionable in numerous respects, and Defendants
dutifully responded to each request with detailed objections in compliance with Rule 34. But also
importantly for present purposes, Defendants engaged in numerous meet-and-confers and sent multiple
detailed letters to Plaintiffs spelling out exactly how and when Defendants would satisfy Plaintiffs’
requests, which they did. It is unclear what Plaintiffs hope to accomplish by challenging written
objections at this point, but it is clearly water under the bridge given the history of this case. If
Plaintiffs had concerns about Defendants’ written objections to their discovery, the time to raise that
challenge with the Court was many months ago when the objections were served—not two weeks after
the discovery cut-off.
        Accordingly, Plaintiffs’ various requests should be rejected as untimely and unfounded
attempts to reopen discovery in areas that have already been fully covered through other documents
and depositions.

       Dated: July 31, 2022

       Respectfully Submitted,

       ARNALL GOLDEN GREGORY, LLP                   GIBSON DUNN & CRUTCHER, LLP

       /s/ Matthew M. Lavin                         /s/ Geoffrey Sigler
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